7/1/22, 10:42 AM              Case 22-14583-SMG                 Doc 19-43809Filed
                                                                            SW 16407/01/22
                                                                                   TERRACE                  Page 1 of 1




             Site Address            3809 SW 164 TERRACE, MIRAMAR FL 33027                                   ID #         5140 29 04 2250
             Property Owner          SMITH, MARISA C                                                         Millage             2713
             Mailing Address 3809 SW 164 TER MIRAMAR FL 33027                                                Use                 01-01

             Abbr Legal              NAUTICA PLAT 164-36 B LOT 41 BLK 8
             Description
                    The just values displayed below were set in compliance with Sec. 193.011, Fla. Stat., and include a
                              reduction for costs of sale and other adjustments required by Sec. 193.011(8).
             * 2022 values are considered "working values" and Assessment
                                                     Property  are subject to Values
                                                                              change.
                                                Building /              Just / Market                Assessed /
                   Year        Land                                                                                               Tax
                                              Improvement                  Value                     SOH Value
               2022*          $69,910             $458,500               $528,410                    $252,190
                   2021       $69,910             $362,570               $432,480                    $244,850                  $4,617.52
                   2020       $69,910             $335,640               $405,550                    $241,470                  $4,565.38
                                         2022* Exemptions and Taxable Values by Taxing Authority
                                                       County            School Board                Municipal                  Independent
             Just Value                               $528,410                   $528,410                $528,410                  $528,410
             Portability                                        0                        0                         0                           0
             Assessed/SOH 00                          $252,190                   $252,190                $252,190                  $252,190
             Homestead 100%                            $25,000                    $25,000                 $25,000                   $25,000
             Add. Homestead                            $25,000                           0                $25,000                   $25,000
             Wid/Vet/Dis                                        0                        0                         0                           0
             Senior                                             0                        0                         0                           0
             Exempt Type                                        0                        0                         0                           0
             Taxable                                  $202,190                   $227,190                $202,190                  $202,190

                                         Sales History                                                   Land Calculations
                       Date     Type        Price             Book/Page or CIN               Price                     Factor           Type
               6/16/1999        SWD       $187,000              29601 / 752                  $7.00                     9,987             SF




                                                                                         Adj. Bldg. S.F. (Card, Sketch)                 2805
                                                                                                           Units                         1
                                                                                              Eff./Act. Year Built: 2000/1999

                                                               Special Assessments
                   Fire       Garb        Light        Drain         Impr         Safe          Storm                  Clean         Misc
                   27                                    4I                                      MM
                   R                                     4I
                   1                                     .23                                         1




https://bcpa.net/RecInfo.asp?URL_Folio=514029042250                                                                                                1/1
